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                  USCA11 Case: 20-14480 Date Filed: 01/04/2021 Page: 1 of 1


                             UNITED STATES COURT OF APPEALS
                                FOR THE ELEVENTH CIRCUIT
                               ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                             56 Forsyth Street, N.W.
                                             Atlanta, Georgia 30303

David J. Smith                                                                       For rules and forms visit
Clerk of Court                                                                       www.ca11.uscourts.gov


                                           January 04, 2021

Clerk - Northern District of Georgia
Richard B. Russell Bldg & US Courthouse
2211 UNITED STATES COURTHOUSE
75 TED TURNER DR SW
STE 2211
ATLANTA, GA 30303-3309

Appeal Number: 20-14480-RR
Case Style: Coreco Pearson, et al v. Gov. of the State of Georgia, et al
District Court Docket No: 1:20-cv-04809-TCB

A copy of this letter, and the judgment form if noted above, but not a copy of the court's
decision, is also being forwarded to counsel and pro se parties. A copy of the court's decision
was previously forwarded to counsel and pro se parties on the date it was issued.

The enclosed copy of the judgment is hereby issued as mandate of the court. The court's opinion
was previously provided on the date of issuance.

Sincerely,

DAVID J. SMITH, Clerk of Court

Reply to: Lois Tunstall
Phone #: (404) 335-6191

Enclosure(s)
                                                                       MDT-1 Letter Issuing Mandate
          Case 1:20-cv-04809-TCB Document 81 Filed 01/04/21 Page 2 of 3
           USCA11 Case: 20-14480 Date Filed: 01/04/2021 Page: 1 of 2


                           UNITED STATES COURT OF APPEALS
                                 For the Eleventh Circuit
                                     ______________

                                      No. 20-14480
                                     ______________

                                 District Court Docket No.
                                   1:20-cv-04809-TCB

CORECO JA'QAN PEARSON,
VIKKI TOWNSEND CONSIGLIO,
GLORIA KAY GODWIN,
JAMES KENNETH CARROLL,
CAROLYN HALL FISHER,
CATHLEEN ALSTON LATHAM,
BRIAN JAY VAN GUNDY,

                                               Plaintiffs - Appellants - Cross
                                               Appellees,

versus

GOVERNOR OF THE STATE OF GEORGIA,
in his official capacity,
SECRETARY OF STATE FOR THE STATE OF GEORGIA,
in his official capacity as Secretary of State and
Chair of the Georgia State Election Board,
DAVID J. WORLEY,
in his official capacity as a member of the Georgia
State Election Board,
REBECCA N. SULLIVAN,
in her official capacity as a member of the Georgia
State Election Board,
MATTHEW MASHBURN,
in his official capacity as a member of the Georgia
State Election Board,
ANH LE,
in her official capacity as a member of the Georgia
State Election Board,

                                               Defendants - Appellees - Cross
                                               Appellants,


DEMOCRATIC PARTY OF GEORGIA, INC,



ISSUED AS MANDATE 01/04/2021
          Case 1:20-cv-04809-TCB Document 81 Filed 01/04/21 Page 3 of 3
           USCA11 Case: 20-14480 Date Filed: 01/04/2021 Page: 2 of 2



DSCC,
DCCC,
                                             Intervenors - Appellees.
                       __________________________________________

                       Appeals from the United States District Court for the
                                  Northern District of Georgia
                       __________________________________________

                                          JUDGMENT

It is hereby ordered, adjudged, and decreed that the opinion issued on this date in this appeal is
entered as the judgment of this Court.

                                   Entered: December 04, 2020
                         For the Court: DAVID J. SMITH, Clerk of Court
                                         By: Jeff R. Patch




ISSUED AS MANDATE 01/04/2021
